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  /s/ Michael Kelley                         /s/ Cami Kelley

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  /s/ Andre Lawson                               01/18/2019
